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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                                                :
              v.                                :    Case No. 21-cr-525 (ABJ)
                                                :
SAMUEL LAZAR,                                   :
                                                :
         Defendant.                             :

                                  JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Hope Lefeber, counsel for Samuel Lazar (“Defendant”), hereby

submit the following Joint Status Report.   In the event of the Press Coalition refiling a motion to

unseal case 21-cr-071, the parties do not object, but respectfully move the Court for 30 days to

redact documents for public filing before the case is unsealed. In support of the Motion, the

parties represent:

   1. On March 8, 2022, as part of a plea agreement, Defendant waived indictment and plead

       guilty to a Superseding Information charging Assaulting, Resisting, or Impeding Certain

       Officers as a Felony and Aiding and Abetting, in violation of 18 U.S.C. §§ 111(a) and (b)

       and 2. (sealed Case No. 22-cr-071). His plea agreement contemplated cooperation with

       the government.

   2. On March 17, 2023, the Court sentenced Defendant, principally, to 30 months incarceration

       as part of a sealed proceeding wherein Defendant’s cooperation with the government was

       discussed.
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3. On April 20, 2023, the Press Coalition filed a motion on Docket 21-cr-525 to unseal any

   plea or change of plea made by Defendant; any sentencing by the Court; the transcript of

   any sentencing hearing; any memoranda or other filings made in connection with a

   sentencing hearing; any related motion to seal, response thereto; and any sealing order,

   which the Court denied without prejudice to refile. (Press’s Motion.)

4. On September 13, 2023, Defendant was released from Bureau of Prison custody, having

   served his sentence.

5. The parties anticipate a forthcoming, renewed motion to unseal by the Press Coalition.

6. The parties do not object to the unsealing of case 22-cr-071 now that Defendant has been

   released from the Bureau of Prisons. However, the parties request that upon the filing of

   a renewed motion to unseal by the Press Coalition, the parties be allowed 30 days to

   respond and to redact portions of documents that explicitly discuss Defendant’s

   cooperation. The parties respectfully request the redacted documents be filed on the (then

   unsealed) docket. This is because public dissemination of the information the Defendant

   supplied could impair or interfere with ongoing investigations and because Defendant

   named individuals responsible for criminal conduct who may not have been charged.

7. The parties respectfully submit 30 days to redact the documents is appropriate as counsel

   for the government will be engaged in trial in Syracuse, NY in early October and counsel

   for Defendant is out of the country until mid-October.

8. The defendant is out of custody.

9. The defendant concurs with this request.




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      Respectfully submitted,

      MATTHEW M. GRAVES
      United States Attorney


By:        /s/                               /s/
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